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AO 91 (Rev§ ll/l l) Cziminal Complaint
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§ §UNITED STATES DISTRICT COURT

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§` _:_ § _ ' 153 Southern DistrictofTexas HW“# lms
Case No, g§ll,ld"*makyl clerk Ffo¢l|l‘l

Hl 8~ 1 will

 

United States of America
v.

Jose Nlanuel Gonza|ez Testino

 

Dejéndam(s)

CRIMINAL C()MPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

On or about the date(s) of in or about 2012 and 2013 in the county of Harris and elsewhere in the

Southern District of Texas , the defendant(s) violated:

Code Section @j%nse Descrz`ptz`on

18 U.S.C. Section 371 Conspiracy to violate the Foreign Corrupt Practices Act (FCPA)
15 U.S.C. Section 78dd-2 Substantive violation of the FCPA

ThiS criminal complaint is based on these facts:

See Affidavit

El Continued on the attached sheet
/: """
/ Complainant ’s signature

HSI Specia| Agent Derek Matthews

Prr'nted name and tier

Sworn to before me and signed in my presence

Dme= 11 9?!_2_7/§018_ high

Judge s tignam)q’

 

City and grate-z HOuStOn, Texas U.S. Magisirate Judge Christina A_ Bryan

Pri`ntea' name and title

 

 

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UNITED STATES DISTRICT COURT _
SOUTHERN DISTRICT ()F TEXAS
HOUSTON DIVISI()N

UNITED STATES OF AMERICA

V. CRIMINAL N().

JOSE MANUEL GONZALEZ UNDER SEAL

TESTIN()

COUOO'DOO’DW¢OO?CM

AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT AND ARREST WARRANT

I, Derek Matthews, (“Affiant”), being first duly sworn, hereby depose
and state as follows:
INTRODUCTION AND AFFIANT’S BACKGR()UND
l. I am a Special Agent With Homeland Security Investigations (“HSI”)
under the United States Department of Homeland Security. l have been a Special
Agent for approximately nineteen years and arn presently assigned to the Houston
Field Office, Financial Fraud Group, Where I arn responsible for conducting criminal
investigations pertaining to the Foreign Corrupt Practices Act, conspiracy, money
laundering, and other criminal violations l am an investigative or law enforcement
officer of the United States Within the meaning of Title 18, United States Code,

Section 2510(7), that is, an officer of the United States Who is empowered by law to

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conduct investigations and to make arrests for federal felonies Prior to this
assignment, l was a Special_ Agent for the Federal Deposit Insurance Corporation.

2`. As a Special Agent with HSI, l have received training related to the
enforcement of various statutes of the United States Code, specifically, but not
limited to, Title 15 , United States Code, Section 78dd-1 et seq., the Foreign Corrupt
Practices Act (“FCPA”).

3. l make this affidavit in support of a criminal complaint and arrest
warrant related to conspiracy to violate and substantive violations of the FCPA,-by
the defendant5 JOSE MANUEL GONZALEZ TESTINO (“GONZALEZ”). The
information contained in this affidavit is based upon my personal knowledge, as well
as information obtained from other sources, including (a) statements made or
reported by various witnesses including cooperating witnesses with knowledge of
relevant facts; (b) my review of publicly available information relating to
GONZALEZ and other relevant individuals and entities ; (c) documents including
financial records, obtained from various sources; and (d) discussions with other law
enforcement officials I have limited this affidavit to those facts necessary to support
a finding of probable cause that GONZALEZ conspired to violate the FCPA in
violation of Title 18, United States Code, Section 371, and did violate Title 15,
United States Code, Section 78dd-2 (the Foreign Corrupt Practices Act).

Accordingly, this affidavit does not include a complete recitation of the entire
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investigation or of each and every fact and matter observed by or known to law

enforcement relating to the subject matter of this investigation Additionally, unless

otherwise noted, wherever in this affidavit I assert that a statement was made by an

individual,_ that statement is described in substance and in part, and is not intended

to be a verbatim recitation of the entire statement made by the individual
PROBABLE CAUSE

Entitl'es and Individuals

4. Petroleos de Venezuela S.A. (“PDVSA”) is the Venezuelan state-
owned and state-controlled oil company. PDVSA and its subsidiaries are
responsible for the eXploration, production, refining, transportation, and trade in
energy resources in Venezuela and provided funding for other operations of the
Venezuelan government PDVSA and its wholly owned subsidiaries are
“instrumentalities” of the Venezuelan government as that term is used in the FCPA,
Title 15 , United States Code, Section 78dd-2(h)(2)(A).

5. Bariven, S.A. (“Bariven”) is a wholly-owned subsidiary of PDVSA that
at all relevant times was responsible for procuring goods and services on behalf of
PDVSA.

6. Cooperating Witness l (“CW-l”), is a Venezuelan national who, from
at least 2011 until June 2013, was employed by PDVSA. CW-l held a number of

positions at PDVSA and Bariven, ultimately being named as a high-level Bariven
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executive in or about January 2012. In his capacity as a Bariven executive, among
other duties, CW-l had the responsibility for assembling and revising Bariven’s
weekly payment proposals which set forth the debt Bariven owed to its numerous
vendors and proposed payments of various amounts to selected vendors CW-l was
a “foreign official” as that term is used in the FCPA, Title 15, United States Code,
Section 78dd-2(h)(2)(A). CW-l has pleaded guilty, pursuant to a plea agreement,
to one count of conspiracy to launder m_oney. CW-l is cooperating with the
government, which may lead to a more favorable sentence

7 . GONZALEZ is a United States citizen and thus a “domestic concern”
as that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(l).

8. At all relevant times, GONZALEZ controlled a number of U.S. and
Panama-based energy companies that supplied equipment and services to PDVSA.

9. “Company A” is a company organized under the laws of Panama.
Company A is controlled by GONZALEZ and was used by GONZALEZ to
secure contracts with PDVSA and its subsidiaries

lO. “Co-Conspirator l” is a Venezuelan citizen and resident of Miami,

Florida. Co-Conspirator l was GONZALEZ’s business partner in Company A and

other companies

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ll. “Company B” is a company organized under the laws of Panama.
Company B is controlled by GONZALEZ and was used by GONZALEZ to
secure contracts with PDVSA and its subsidiaries

12. “Company C” is a company organized under the laws of Panama.
Company C is controlled by GONZALEZ and was used by GONZALEZ to
secure contracts with PDVSA and its subsidiaries

13. “Bank Account l” is a bank account located in the Southern District
of Texas, into which GONZALEZ’s companies, including Company A and
Company B, made bribe payments during the course of the conspiracy

l4. “Bank Account 2” is a bank account located in the Southern District
of Florida, into which GONZALEZ’s companies including Company A,
Company B, and Company C, made bribe payments during the course of the
conspiracy.

T he Bribery Scheme

15. Agents from HSl have interviewed CW-l on multiple occasions in
2018. During these interviews CW-l admitted, in sum and s_ubstance, that he
received bribe payments and other things of value from G()NZALEZ while CW-l
was employed as the General Manager of Bariven in exchange for acts and decisions

taken by CW-l in his official capacity; for inducing CW-l to use his influence with

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Bariven, PDVSA, and other foreign officials in order to affect or influence acts and
decisions thereof; and for other improper business advantages and assistance from
CW-l. Specifically, in exchange for bribes from GONZALEZ, CW-l took steps to
direct contracts to GONZALEZ’s companies gave GONZALEZ’s companies
priority over other vendors to receive payments and awarded GONZALEZ’s
contracts with PDVSA in United States dollars instead of Venezuelan bolivars. In
addition, CW-l helped GONZALEZ prepare a presentation to be given to the
PDVSA Board of Directors and CW-l assisted GONZALEZ in receiving priority
to meet with the board. CW-l also took steps to influence the PDVSA Board of
Directors’ decision to award a contract for turbine generators to one of
GONZALEZ’s companies

16. CW-l has stated that while he was meeting with GONZALEZ
regarding Company A and his other companies GONZALEZ often called Co-
Conspirator 1 before making decisions concerning their businesses

17. CW-l admitted to the government that he received bribes from
G()NZALEZ into two banks accounts iii the United States Bank Account 1 and
Bank Account 2. Both bank accounts were in the name of a company owned by one
of CW-l ’s relatives and the accounts were used by CW~l to accept bribe payments

from G-ONZALEZ and others in 2012 and 2013 while he was a foreign official

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18. The information provided by CW-l is corroborated by documents
Bank records show that Swiss bank accounts in the names of Companies A, B, and
C wired bribe payments to Bank Account 1 and Bank Account 2 including the

following payments on the following dates:

 

 

 

 

 

 

 

 

 

 

 

 

 

Beneficial'y Bank
Date Account Payor Amount
11/27/20]2 Bank Account l Company A $50,000.00
1/15/2013 Bank Account i Company B s50,000.00
3/5/2013 Bank Account 2 Company A 350,000.00
3/7/2013 Bank Account 2 Company A $50,000.00
3/21/2013 Bank Account 2 Company A $50,000.00
4/8/2013 Bank Account 2 Company A $75,000.00
4/17/2013 Bank Account 2 Company A $75,000.00
4/24/2013 Bank Account 2 Company B 350,000.00
5/2/2013 Bank Account 2 Company C $29,000.00
5/14/2013 Bank Account 2 Company C 3100,000.00
6/3/2013 Bank Account 2 Company A $50,000.00

 

 

 

 

19. In addition, Cooperating Witness 2 (“CW-Z”) corroborates CW-l’s

statements that GONZALEZ and Co-Conspirator l controlled Company A,

 

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Company B, and Company C. CW-2 was the owner of a number of U.S.-based
energy companies including several companies located in the Southern District of
Texas that supplied equipment and services to PDVSA, and a resident of Texas.
CW-2 has pleaded guilty, pursuant to a plea agreement, to one count of conspiracy
to violate the FCPA, one substantive count of violating the FCPA, and one count of
making false statements in connection with his federal income tax return. CW~2 is

cooperating with the government, which may lead to a more favorable sentence

20. Bank records and other documents reveal that, in total, GONZALEZ
paid at least $629,000.00 in bribes to CW-l in the form of wire transfers to Bank

Account l and Bank Account 2.

 

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CONCLUSION
21. Based on the forgoing, l believe that probable cause exists to issue a
criminal complaint and arrest warrant charging JOSE MANUEL GONZALEZ
TESTINO with violating Title 18, United States Code, Section 371 (conspiracy to
violate the FCPA) and violations of the FCPA, Title 15, United States Code, Section
78dd-2 (the Foreign Corrupt Practices Act).
l declare under the penalty of perjury that the foregoing is true and correct to l

the best of my knowledge

Respectfully submitted,

1/
i)erek M§tthews
Special Agent
Homeland Security Investigations

Subscribed and sworn to before me on W*-€)(' 2 7,, , 2018

UNiTED sTATEs MAGis'rRAfis JUDGE

